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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS,
                                 EL PASO DIVISION

NEREIDA LEAL, INDIVIDUALLY AND                        §
AS REPRESENTATIVE OF THE ESTATE                       §
OF MARTIN LEAL-ESCOBEDO;                              §
MARTIN A. LEAL, INDIVIDUALLY;                         §
AND MARIA ESCOBEDO, INDIVIDUALLY                      §
     Plaintiffs,                                      §
                                                      §
v.                                                    §          CASE NO. 3:17-cv-00207-PRM
                                                      §
A STERLING FREIGHT CARRIER INC.;                      §
MANDEEP K. BHATTI; AND                                §
SHARANDEEP SINGH                                      §
     Defendants.                                      §

          DEFENDANTS’ MOTION TO ABATE/DISMISS ESTATE CLAIMS
     FOR LACK OF STANDING & CAPACITY SUBJECT TO FRCP 12(b) MOTIONS

     TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS:

       COMES NOW, A STERLING FREIGHT CARRIER INC., and MANDEEP K.

BHATTI (hereinafter “Defendants”), in the above entitled and numbered cause, and file this

Motion to Abate/Dismiss Plaintiffs' Estate Claims for Lack of Capacity, Lack of Standing and/or

Lack of Authority Subject to FRCP 12(b) Motions and would show the Court as follows:.

                                             I.
                                          OVERVIEW

       This suit pertains to a tractor-trailer accident that happened on May 3, 2017, along I-10 in

Pecos County, Texas. A tractor-trailer operated by Sharandeep Singh sustained a tire blow out on

a steer tire which caused loss of control. It then collided with a tractor-trailer driven by Martin

Leal who died at the scene. See App. Ex. C at §11.

       Plaintiffs herein are the daughter, son and mother of Martin Leal, Deceased. Id. at § 12.

Plaintiffs filed the present case in this Court asserting diversity jurisdiction against Defendants.

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Id. at § 8. Plaintiffs allege that the acts/omission of Defendants constituted general negligence,

negligence per se, and gross negligence. Plaintiffs seek compensatory damages, including

wrongful death and (Estate) survival damages, and punitive damages. Id. at §§ 40-48.

       As of the date of filing of this motion Defendant Sharandeep Singh has not been served.

                                               II.
                   THE PREVIOUSLY FILED SUIT IN NEW MEXICO

       On June 2, 2017, Antonia Leal, wife of Martin Leal, Deceased, filed an application in a

New Mexico Court to be appointed as the Personal Representative of the Estate (Martin Leal) to

Pursue Wrongful Death Claims in Accordance with NMSA 1978 § 41-2-1 et seq. This case is In

the Matter of the Wrongful Death Estate of Martin Leal, Deceased; Cause No. D-2-2-CV-2017-

03914; In the Second Judicial District Court of Bernalillo County, New Mexico. See Appendix

Exhibit A and Appendix Exhibit F at § 3. The application was granted in an Order dated June 13,

2017. See App. Ex. B and App. Ex. F at § 3

       Under New Mexico law this is the sole party who can bring the claims for Martin Leal,

Deceased.

       Subsequently, on June 15, 2017, a suit was filed against the Estate in Johnny Barbee

d/b/a Barbee Wrecker Service, Inc. v. Antonia Leal, As Personal Representative of the Estate of

Martin Leal and the Estate of Martin Leal; Cause No. D-2-2-CV-2017-04266; In the Second

Judicial District Court of Bernalillo County, New Mexico. See App. Ex. F at § 4. This suit is for

damages resulting from the accident on May 3, 2017, in which Martin Leal died. Id. The

Defendants/ 3rd Party Plaintiffs (estate, spouse and daughter of Martin Leal, Deceased) sued

Third Party Defendants Sharandeep Singh and ASF Carrier, Inc., on July 6, 2017. Id.

Defendants/3rd Party Plaintiffs allege jurisdiction in a New Mexico Court due to the fact that


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Antonia Leal, Individually and As Personal Representative of the Estate of Martin Leal, the

Estate of Martin Leal and Martin Leal (before his death) were residents of New Mexico and due

to acts and/or omissions by Defendants which occurred in New Mexico. Id.

                                      III.
                   TEXAS SUBSTANTIVE LAW APPLIES UNDER ERIE

       The Erie doctrine requires that a federal court apply state law to cases not governed by

federal law. Erie R. Co. v. Tompkins, 304 U.S. 64, 78, 58 S.Ct. 817, 82 L.Ed. 1188 (1938).

"Where the state rule reflects a substantive state policy not in conflict with the plain meaning of

the federal rule, then the state rule is the rule of decision and should be applied under the terms

of the Erie doctrine." Exxon Corp. v. Burglin, 42 F.3d 948, 949 (5th Cir.1995). Defendants

contend that Texas substantive law applies as to the capacity, standing and/or authority to bring

an estate claim.

                                      IV.
                        GROUNDS FOR ABATEMENT/DISMISSAL

       Plaintiffs have incorrectly filed suit against Defendants in the name of “Nereida Leal As

Representative of the Estate of Martin Leal” in order to bring survival claims resulting from the

accident. See (ECF Doc 1). This entity has neither standing nor capacity to sue or be sued. In the

alternative, Nereida Leal is acting without the required authority to act on behalf of the Estate.

Therefore, Defendants move the Court to abate/dismiss the survival cause of action brought by

the Estate.

       A suit for wrongful death (including what are referred to as survival claims in Texas) was

already pending in Bernalillo County, New Mexico before the suit was filed in this Court. See

Appendix Exhibit F at § 5. That action pertains to the same accident litigated in the New Mexico

proceeding. Id. Judicial economy favors that all claims relating to the accident be presented


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within a single unified action. Id. New Mexico rules regarding joinder and cross-actions are quite

liberal, so there is no meaningful impediment to participation by all the Texas plaintiffs (who all

reside in New Mexico) as claimants in the New Mexico suit. Id. In contrast, separate litigation on

the same accident could create the risk of inconsistent verdicts or raise thorny questions of

collateral estoppel or res judicata if one action goes to judgment before the other resolves. Id.

                                         V.
                               ARGUMENT AND AUTHORITY

       An “estate” of a decedent is not a legal entity and may not properly sue or be sued as

such. Price v. Anderson, 522 S.W.2d 690, 691 (Tex.1975); see also Henson v. Estate of Crow,

734 S.W.2d 648 (Tex.1987).

       In Texas, the standing doctrine requires that there be (1) "a real controversy between the

parties," that (2) "will be actually determined by the judicial declaration sought." Nootsie, 925

S.W.2d at 662 (quoting Tex. Ass'n of Bus. v. Tex. Air Control Bd., 852 S.W.2d 440, 443-44

(Tex.1993)). Implicit in these requirements is that litigants are "properly situated to be entitled to

[a] judicial determination." 13 CHARLES ALAN WRIGHT, ARTHUR R. MILLER, AND

EDWARD H. COOPER, WRIGHT, MILLER & COOPER, FEDERAL PRACTICE AND

PROCEDURE: JURISDICTION 2D § 3531, at 338-39 (2d ed.1984). Without standing, a court

lacks subject matter jurisdiction to hear the case. Tex. Ass'n of Bus., 852 S.W.2d at 443. Thus, the

issue of standing may be raised for the first time on appeal. Id. at 445.

       In addition to standing, a plaintiff must have the capacity to pursue a claim. For example,

minors and incompetents are considered to be under a legal disability and are therefore unable to

sue or be sued in their individual capacities; such persons are required to appear in court through

a legal guardian, a "next friend," or a guardian ad litem. See Sax v. Votteler, 648 S.W.2d 661,

666-67 (Tex.1983); Peek v. DeBerry, 819 S.W.2d 217, 218 (Tex.App.-San Antonio 1991, writ

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denied); see also TEX. PROBATE CODE §§ 601(14), 773; TEX.R. CIV. P. 44, 173. Similarly, a

decedent's estate "is not a legal entity and may not properly sue or be sued as such." Price v.

Estate of Anderson, 522 S.W.2d 690, 691 (Tex.1975); see also Henson v. Crow, 734 S.W.2d

648, 649 (Tex.1987). Although a minor, incompetent, or estate may have suffered an injury and

thus have a justiciable interest in the controversy, these parties lack the legal authority to sue; the

law therefore grants another party the capacity to sue on their behalf. Unlike standing, however,

which may be raised at any time, a challenge to a party's capacity must be raised by a verified

pleading in the trial court. TEX.R. CIV. P. 93(1)-(2); Sixth RMA Partners v. Sibley, 111 S.W.3d

46, 56 (Tex.2003).

        For plaintiff’s counsel appointment of the personal representative permits the survival

claims to be filed or, if already filed, to proceed. Shepherd v. Ledford, 962 S.W.2d 38, 31-32

(Tex.1998). If the deceased plaintiff improperly names “the Estate” as plaintiff, rather than the

estate’s personal representative, the defendant may be entitled to abatement and, eventually,

dismissal of the survival claims if the plaintiff fails to correct this error. M&M Const. Co. v.

Great Am. Ins. Co., 747 S.W.2d 552,555 (Tex.App—Corpus Christi 1988, no writ). The plaintiff

must correct the capacity error and substitute the plaintiff’s personal representative on behalf of

the estate. If the plaintiff fails to do so after a reasonable time, then the Court may dismiss the

suit with prejudice. Bossier Chrysler Dodge II, Inc., v. Rauschenberg, 201 S.W.3d 787, 798

(Tex.App.—Waco 2006) (aff’d in part rev’d in part sub nom. Bossier Chrysler Dodge II, Inc. v.

Rauschenberg, 283 S.W.3d 376 (Tex.2007)).

        In addition, if the plaintiff dies before an attorney is retained; a personal representative

will need to be appointed in order to enter into a binding fee agreement on behalf of the deceased

plaintiff’s estate.


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       When The Estate was sued in New Mexico it was required to file compulsory counter

claims at that time pursuant to New Mexico law which states:

        “A pleading shall state as a counterclaim any claim which at the time of serving the
       pleading the pleader has against any opposing party, if it arises out of the transaction or
       occurrence that is the subject matter of the opposing party’s claim. . .”

NMRA 1-013(A).

       The Texas rule regarding Compulsory Counterclaims is similar as follows:

       “A pleading shall state as a counterclaim any claim within the jurisdiction of the court,
       not the subject of a pending action, which at the time of filing the pleading the pleader
       has against any opposing party, if it arises out of the transaction or occurrence that is the
       subject matter of the opposing party's claim. . .”

Tex. R. Civ. P. 97.

       The Federal rule regarding Compulsory Counterclaims is similar as follows:

        (a) Compulsory Counterclaim.
            (1) In General. A pleading must state as a counterclaim any claim that—at the time of
            its service—the pleader has against an opposing party if the claim:
                 (A) arises out of the transaction or occurrence that is the subject matter of the
                 opposing party's claim; and
                 (B) does not require adding another party over whom the court cannot acquire
                 jurisdiction.

Fed.R.Civ.Pro. 13

                                             PRAYER

       WHEREFORE PREMISES CONSIDERED, Defendants respectfully pray that the

Court abate/dismiss Plaintiffs' Estate claims against them for a lack of capacity and/or standing

and/or lack of authority, and any further relief to which they may be entitled at law or in equity.




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                                            Respectfully submitted,

                                            SARGENT LAW, P.C.

                                            By:    /s/ Chuck Shiver
                                                   DAVID L. SARGENT
                                                   State Bar No. 17648700
                                                   david.sargent@sargentlawtx.com
                                                   CHUCK W. SHIVER II
                                                   State Bar No. 00792832
                                                   chuck.shiver@sargentlawtx.com

                                            1717 Main Street, Suite 4750
                                            Dallas, Texas 75201
                                            (214) 749-6000 – Telephone
                                            (214) 749-6100 – Facsimile

                                            ATTORNEYS FOR DEFENDANTS




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 1st day of September, 2017, a true and correct copy

of the foregoing document was forwarded via ECF service as follows:

       Jason Medina
       Chad Inderman
       Glasheen, Valles & Inderman, LLP
       P.O. Box 1976
       1302 Texas Ave.
       Lubbock, TX 79401

       ATTORNEYS FOR PLAINTIFFS

                                                    /s/ Chuck Shiver
                                                   CHUCK W. SHIVER II




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                            CERTIFICATE OF CONFERENCE


       The undersigned certifies that on the 1st day of September, 2017, I conferred with counsel

for Plaintiffs regarding the above Motion. A reasonable effort was made to resolve the dispute

without the necessity of Court intervention; however, the effort failed. Specifically, counsel

disagreed over the controlling authority. Therefore, Defendants submit the matter to the Court

for determination.



                                                     /s/ Chuck Shiver
                                                    CHUCK W. SHIVER II




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